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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  TALIA N. HARRISON,

                 Plaintiff,

         vs.                                              Civil Action No. 4:21-cv-607-ALM

  TYLER TECHNOLOGIES, INC.,

                 Defendant.


                               REPLY IN SUPPORT OF PLAINTIFF’S
                        MOTION FOR AWARD OF ATTORNEY’S FEES AND COSTS

 Plaintiff Talia N. Harrison files this Reply in support of her Motion for an order awarding

 attorney’s fees and costs of litigation pursuant to 29 U.S.C. § 216(c), showing the Court as follows:

 1.     Introduction

        Plaintiff had a single overtime claim in this case. Defendants raised numerous complete

 and partial defenses and succeeded on one partial defense at summary judgment, relating to one of

 the two positions that Plaintiff worked in. Now, Defendant argues without proper factual or legal

 support that Plaintiff’s award of attorney’s fees should be reduced by nearly two thirds.

        More than a year ago, Plaintiff offered to settle this case for $20,000 plus fees and

 costs at mediation. (See Ex. 1 (correspondence from opposing counsel and mediator’s proposal

 from Will Pryor)). This occurred before significant discovery, before motion practice, and long

 before summary judgment. Defendant rejected that offer. After summary judgment, which

 Defendant says was a disaster for Plaintiff, Plaintiff obtained a settlement for $23,000 plus fees

 and costs—a favorable outcome and not the supposed “lack of success” Defendant claims.




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         Moreover, Defendant argues Plaintiff’s counsel engaged in improper billing. As shown

 below, Plaintiff’s request for fees and costs is entirely reasonable and should be awarded in full.

 2.      Plaintiff Was Not Partially Successful

         Here, Defendant received a partially successful summary judgment ruling. Respectfully,

 Plaintiff believes that the Court erred in holding that she fell within the scope of the FLSA’s

 administrative exemption and planned to appeal that ruling after trial. However, as Defendant was

 ultimately willing to settle her overtime claim at an amount that Plaintiff considered reasonable—

 providing value to Plaintiff for the entirety of her overtime claim—Plaintiff was willing to forego

 that appeal right and end the litigation sooner rather than later.

         It is entirely speculative for Defendant to claim only partial success by Plaintiff when no

 final judgment was rendered, and it is impossible to analyze how much she would have recovered

 for both employment periods at issue. While most of the three-year statutory period related to the

 Implementation Analyst position that the Court found to be exempt, Plaintiff testified that she

 worked significantly more overtime during her time as a Project Manager. Dkt. 14-1 (Deposition

 of Talia Harrison), pp. 176:1–7; 233:4 to 234:9. It is also possible that good faith or willfulness

 might have affected the amount of recovery as to one or the other employment periods. In other

 words, there is no objective way to accurately reconstruct how Plaintiff’s damages would have

 differed with or without the Implementation Analyst hours included. And, of course, assuming that

 Plaintiff’s appeal would have been unsuccessful.

         The best objective measure of Plaintiff’s success in this case is what she was willing to

 settle the case for before summary judgment, and then what she ultimately obtained in settlement

 after summary judgment. Such analysis does not support Defendant’s position that Plaintiff was

 only partially successful in this case. In fact, it clearly shows the opposite.



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         In January 2022, early in this case, the Parties attended a mediation with Will Pryor. The

 mediation ended unsuccessfully with a final demand from Ms. Harrison for $20,000 plus fees and

 costs to be determined by the Court. Defendant’s final offer at mediation was $8,000 plus fees and

 costs. After mediation, Defendant served a Rule 68 Offer of Judgment for $15,000 plus fees and

 costs. It was not accepted. See Exhibit 1, passim.

         Defendant argues the Court’s partial ruling on summary judgment renders Plaintiff only

 partially successful in this litigation and only partially entitled to recover her attorney’s fees. But

 the actual numbers that the parties were willing to put on the table belie that facile analysis. A year

 after the mediation—and after the Court issued its summary judgment Order—the Parties

 ultimately settled for $23,000 with the Court to determine fees and costs. Thus, after summary

 judgment, Plaintiff obtained a settlement substantially more favorable than what she had offered

 to Defendant a year previously. That is no partial success. Objectively, it was a very favorable

 result. And that result is the only objective measure available to evaluate Plaintiff’s success.

         While courts do not reduce attorney fees solely on the basis of the amount of damages

 obtained, Gurule v. Land Guardian, Inc., 912 F.3d 252, 262–63 (5th Cir. 2018) (Ho, J., concurring)

 (quotation omitted), that does not alter the fact that “[t]he most critical factor in determining an

 attorney’s fee award is the ‘degree of success obtained.’ ” Id. (quoting Saizan v. Delta Concrete

 Prods. Co., 448 F.3d 795, 799 (5th Cir. 2006)). As Judge Ho explained in that concurrence,

 “[t]hese principles are not in conflict. . . . Attorney time must be spent in service of the best interests

 of the client. So where attorney time exceeds client value to a significant degree, courts should be

 suspicious. The overarching question that courts should ask in such circumstances is whether the

 attorney expended the time in a good faith pursuit of value for the client — or was instead engaged

 in churning attorney fees.” Id.



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        As shown in Matthew W. Herrington’s declaration, analysis of the facts and law in this

 case was all of one piece. (See Ex. 2 (Herrington Decl.,), passim). While the Court found a

 distinction at summary judgment between Plaintiff’s two job positions, counsel treated the entirety

 of her employment as of a single piece. Plaintiff’s own characterization of her duties as being

 essentially the same in both positions supported this strategy. Id. No significant time was spent on

 issues solely relating to the Implementation Analyst position, and no significant time could have

 been omitted if only the Project Manager position had been considered. Nothing about that

 distinction affected the work that counsel performed on this case, other than a negligible amount

 of additional time spent on a section of Plaintiff’s response brief at summary judgment.

 3.     No Adjustment of the Lodestar is Warranted

        The Supreme Court has described the lodestar figure as “the guiding light of our fee-

 shifting jurisprudence.” Gisbrecht v. Barnhart, 535 U.S. 789, 801 (2002) (quoting Burlington v.

 Dague, 505 U.S. 557, 562 (1992)). It has stressed the reasonableness of the lodestar amount as a

 “strong presumption” which may be overcome in “rare circumstances.” Perdue v. Kenny A. ex rel.

 Winn, 559 U.S. 542, 554, 130 S. Ct. 1662 (2010); see also 5 Larson on Employment Discrimination

 § 97.09 (2023).

        Defendant misrepresents the proper use of the Johnson factors—which may sometimes be

 used to justify a modification of the lodestar—when it states that:

        After calculating the lodestar—the number of hours reasonably spent on the case
        multiplied by an appropriate hourly rate in the community for such work—the
        court may decrease the lodestar amount based on the twelve Johnson factors.

 Dkt. 47, pg. 4 (emphasis added). The Johnson factors may guide a district court in either

 increasing or decreasing the lodestar. Saizan v. Delta Concrete Prods. Co., 448 F.3d 795, 800

 (5th Cir. 2006) (“After calculating the lodestar, the court may decrease or enhance the amount

 based on the relative weights of the twelve factors set forth in Johnson.”). Of course, some of the
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 factors are already incorporated into the lodestar and may not be counted twice, and the others are

 applicable only in very special circumstances given the presumed validity of the lodestar. Perdue

 v. Kenny A., 559 U.S. 542, 552, 130 S. Ct. 1662 (2010); see also 10 Moore’s Federal Practice -

 Civil § 23.124 (2023) (“Supreme Court has disfavored adjustments to the lodestar, showing a

 marked preference for a single step inquiry”).

        Defendant argues that Plaintiff’s fee should be reduced from the lodestar because:

        •   The case was not novel or especially difficult;

        •   Plaintiff’s counsel was not precluded from accepting other cases;

        •   The lodestar would compensate Plaintiff’s counsel more than a traditional
            contingency arrangement; and

        •   The case was not undesirable.

 Dkt. 47, pp. 6–12. It does so in only the most general and generic terms and identifies nothing that

 could be called special circumstances.

        The issues of novelty and complexity are fully reflected in the number of billable hours

 recorded by counsel and thus do not support modification of a fee based on the number of billable

 hours multiplied by reasonable hourly rates. See Blum v. Stenson, 465 U.S. 886, 898-99 & n.16,

 104 S. Ct. 1541, 1549 (1984); see also 5 Moore’s Federal Practice - Civil § 23.124 (2023).

        Defendants also argue—generically, and with no meaningful explanation—that the lack of

 novelty in this case warrants reduction of the lodestar. Defendant having provided no specific

 evidence in support of this characterization; Plaintiff has nothing to rebut. Plaintiff would also note

 that this factor is already subsumed in the lodestar amount and cannot properly be considered with

 respect to adjustments of the lodestar. Geoffrion v. Nationstar Mortg. LLC, No. 4:14-cv-350, 2016

 U.S. Dist. LEXIS 62723, at *5 (E.D. Tex. May 12, 2016) (citing Heidtman v. Cty. of El Paso, 171

 F.3d 1038, 1043 (5th Cir. 1999)); see also Blum v. Stenson, 465 U.S. 886, 898–900, 104 S. Ct.

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 1541 (1984), Pierce v. Underwood, 487 U.S. 552, 573, 108 S. Ct. 2541, 2554 (1988) (“ ‘novelty

 and difficulty of issues,’ ‘the undesirability of the case,’ the ‘work and ability of counsel,’ and ‘the

 results obtained,’ . . . are factors applicable to a broad spectrum of litigation; they are little more

 than routine reasons why market rates are what they are.”).

         As to Defendant’s argument regarding the contingency vs. traditional fee arrangement, the

 Supreme Court has barred any use of that sixth Johnson factor. See Halupka v. Fed. Express Corp.,

 No. 4:03-cv-350, 2006 U.S. Dist. LEXIS 115957, at *15 (E.D. Tex. June 22, 2006) (citing Walker

 v. U.S. Dept. of Hous. and Urban Dev., 99 F.3d 761, 772 (5th Cir. 1996)).

         Finally, Defendant claims that because this case was not undesirable, that the lodestar must

 be reduced. Again, Defendant provides no specific facts and not a single example of the lodestar

 being adjusted downward because the case was not remarkably undesirable. This argument is silly

 and nothing more can be said about it.

         In short, Defendant has made not even the barest showing of special circumstances that

 would warrant deviating from the strong presumption that the lodestar is the reasonable fee. No

 adjustment to the lodestar can be supported on this record.

 4.      Plaintiff’s Counsel’s Billing Was Appropriate

         Plaintiff is ready to concede a small portion of the fees that Defendant describes as

 improper, but simply to save the Court’s resources.

         Amended Complaint

         Plaintiff already reduced the section “04-Amended Complaint/Answer” by $858.00 by no

 charging another entry. To simplify the Court’s effort, Plaintiff withdraws this request for

 $234.00.




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        Depositions

        As to time spent in connection with depositions, Defendant’s arguments miss the mark.

 Plaintiff’s billabless (Dkt. 44-7 through 44-8) demonstrate most of the effort in this category

 ($3,978) is related to Plaintiff’s deposition: On January 18, 2022, Mr. Herrington notes, “Review

 client documents; deposition preparation meeting with client” and on January 19, 2022, the entry

 reads, “Deposition of client; calls with CRB [Charles R. Bridgers] re deposition issues; meetings

 with clients.” These entries are simple, clear, and directly related to one aspect of a day’s work.

 The Court should disregard Defendant’s boilerplate claims that these entries are “block billing”.1

        While the entries for Mr. Bridgers under “Depositions” ($365.40) are appropriate for

 planning and reference, Plaintiff withdraws them from the Motion because the amounts are too

 small to justify the Court’s attention.

        Motions

        Defendant is correct that most of the entries under the “Motion” category are for the Fee

 Petition and then downplay the motion as “routine.” First, undersigned counsel’s “routine” practice

 in FLSA cases is to agree with the opposing party on the amount of fees, which Defendant and its

 counsel refused to discuss in any meaningful way. Instead, Defendant forced Plaintiff to file this




    1
         As the Fifth Circuit has explained: “practical considerations of the daily practice of law in
 this day and age preclude ‘writing a book’ to describe in excruciating detail the professional
 services rendered for each hour or fraction of an hour.” League of United Latin American Citizens
 No. 4552 (LULAC) v. Roscoe Ind. Sch. Dist., 119 F.3d 1228, 1233 (5th Cir. 1997) (quoting
 Louisiana Power & Light Co. v. Kellstrom, 50 F.3d 319, 327 (5th Cir. 1995). Courts may examine
 the reasonableness of billing entries based on “the number of hours spent on such tasks, the more
 detailed entries surrounding them, and their dates of entry, which indicates the point in the
 proceedings in which the particular services were rendered.” Olibas v. Native Oilfield Servs., LLC,
 104 F. Supp. 3d 791, 811-12 (N.D. Tex. 2015). Plaintiff has no fear that the Court will immediately
 recognize that her counsel’s efforts in this case were extremely efficient and that no unnecessary
 billing occurred.

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 Motion and Reply. Also, Defendant’s position that this was Motion is “routine” is belied by the

 fact that it is opposing the Motion and billing entries on an almost line-by-line basis.

         Substantively, Defendant’s analysis of the Motion as only 6 pages ignores the actual effort

 required. This Motion required substantial declarations from three attorneys and dozens of pages

 of exhibits. Every line of these sworn statements and billing records had to be scrutinized. The

 time actually incurred was in excess of the estimates. This reply brief alone has taken more than 7

 hours of attorney time, far in excess of Plaintiff’s initial request.2 No reduction is appropriate.

         Legal Research, Miscellaneous Case Efforts, and Factual Development

         Initial decisions—including where to bring a case and what theories to use—are important

 strategic decisions that can impact the entire course of the litigation. Plaintiff’s overtime claim was

 successful because of these decisions. Reasoned consideration and conversation among counsel is,

 therefore, necessary and appropriately billed. Similarly, supervisory direction to other staff

 members serves the purpose dividing work appropriately so that the least expensive staff member

 capable of doing a task actually does so. The most senior attorney on the case naturally provided

 supervision to ensure that that more junior attorney’s decisions were sound. That is the heart of

 efficient delegation of legal duties. Defendant’s generalized and unspecific objections criticizing

 these efforts necessarily fail. Again, though, Plaintiff is not seeking to force this court into a nickel-

 and-dime analysis. Plaintiff will withdraw the following time entries (8/3/2021 for $43.50;

 9/29/201 for $43.50; and 7/22/2022 for $43.40), for just to avoid wasting the Court’s time.

         Legal Research, Miscellaneous Case Efforts, and Factual Development




     2
         Undersigned counsel Bridgers and Herrington state this sentence “in their place” as if under
 oath.

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        Defendant’s complaints regarding legal research relate to time spent on what it calls

 “abandoned legal theories.” It points to a small amount of time spent researching the “necessity of

 pleading affirmative defenses and standard for more definite statement motion” and concludes that

 this research was unnecessary because no such motion was filed. This argument is nonsense. The

 question at hand is whether the effort was reasonably undertaken. As Judge Ho explained in his

 concurrence in Gurule v. Land Guardian, Inc.,

        To be sure, not every attorney task will ultimately pay off for the client, even
        amongst the most conscientious of counsel. A legal theory might seem genuinely
        promising at the outset, but ultimately bear no fruit. Attorney time may be
        reasonably spent, even if it does not actually result in client value.

 912 F.3d 252, 262 (5th Cir. 2018). Here, Plaintiff’s counsel—in their professional judgment—

 undertook a small amount of legal research to examine whether more explicit pleadings could be

 demanded from the Defendant. Plaintiff’s counsel ultimately decided not to do so, but Defendant

 has made no showing that such minor investigations into the issue were unreasonable.

        Defendant also complains that Plaintiff went to great lengths to obtain document

 production from it—unwillingly—and then didn’t even use any of those documents at summary

 judgment. Defense counsel can perhaps be forgiven for forgetting that litigation does not end at

 summary judgment. This case very well could have proceeded to trial. Here, Plaintiff obtained

 voluminous emails that evidenced the day-to-day work of Plaintiff to protect against later

 mischaracterizations by Defendant of her job duties.3 As necessary as it was to obtain these



    3
           Such fears are well-founded given the history of this Defendant and this defense counsel’s
 history of dishonesty before the court. See Greene v. Tyler Techs., 526 F. Supp. 3d 1325, 1331 n.5
 (“it is exasperating that Tyler advances this argument when, throughout its briefing, it
 misrepresents and stretches Plaintiff’s testimony. . . . To characterize this as ‘undisputed evidence’
 . . . is disingenuous. Similarly, Defendant mischaracterizes Plaintiff’s brief . . . . The Court has
 discovered other examples of this stretching of the actual testimony, as well. These slanted and
 inaccurate representations are not appreciated. The Court expects better.”).

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 documents, they were not necessary to defend against a motion for summary judgment. This is

 because Plaintiff Harrison could very easily show the court a dispute of material fact through a

 simple declaration, which she did. Thus, given the relevant burden, there was no reason to scour

 or present thousands of emails. In fact, spending dozens of hours organizing and quantifying those

 emails would have been nothing short of the “churning” that Gurule warns against. Counsel did

 not undertake unnecessary efforts at any stage of this litigation. But that does not decrease the

 value of getting the document production that Plaintiff fought so long and so hard to obtain.

        As to several of the smaller entries of “unproductive” time that Plaintiff’s counsel allegedly

 spent, Plaintiff cannot tell which ones are opposed. All identifiable entries are appropriate:

        •       The Bridgers entry for $69.60 on 4/12/2022 relates to a discussion about discovery.
                The Bridgers entry for $93.50 on 3/3/2022 is a conversation on the strategy for
                opposing Defendant’s summary judgement Motion. For the reasons stated above,
                such strategic consultation is not only appropriate, but it is critical to a successful
                case outcome.

        •       As to Mr. Herrington’s entries, the 2/24/2022 entry ($109.20) relates to an 18-
                minute discussion with co-counsel on a protective order. This Protective Order,
                brought to the Court on a joint motion, was eventually entered in this case. (Dkt.
                21) Defendants have raised no substantive reason that this order was wasteful or
                unnecessary.

        •       As to the entries for $1,053 on August 25, 2022, and for $507.00 on August 29,
                2022, Defendant apparently criticizes Mr. Herrington’s review of documents
                produced in the litigation. Not reviewing evidence would have been foolish on
                counsel’s part. Charging for doing so is, therefore, appropriate.

        Plaintiff will, however, withdraw the $17.00 entry for J. Sorrenti, paralegal, from April

 25, 2022, to simplify the Court’s analysis.

 5.     Conclusion

        Based on the foregoing, Plaintiff requests that the Court issue a final judgment in her favor

 including $25,806.70 in attorney’s fees (i.e., $26,553.50 less $746.80 ($234.00 + 365.40 + $43.50

 + $43.50 + $43.40 + $17.00) and $1,271.00 in costs.

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 Respectfully submitted this 20th day of April 2023,



                                                   DELONG CALDWELL BRIDGERS
                                                   FITZPATRICK & BENJAMIN, LLC

                                                   s/ Charles R. Bridgers
                                                   Charles R. Bridgers (pro hac vice)
                                                   charlesbridgers@dcbflegal.com
                                                   s/ Matthew W. Herrington
                                                   Matthew W. Herrington (pro hac vice)
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                                                   s/ Melinda Arbuckle
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                                                   Dallas, TX 75201
                                                   c: (214) 577-0258

                                                   ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

      On April 21, 2023, I filed the foregoing document with the Clerk of Court using the
 CM/ECF system of the Court. I certify that all counsel of record were served electronically thereby.

                                                       s/Melinda Arbuckle
                                                       Melinda Arbuckle




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                    EXHIBIT 1
                EXHIBIT 1 -Document
 Case 4:21-cv-00607-ALM     CORRESPONDENCE      FROM DEFENDANT'S
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                     COUNSEL; MEDIATOR'S PROPOSAL

Subject: RE: Harrison/Tyler - call
Date: Monday, November 14, 2022 at 4:30:37 PM Western European Standard Time
From: Brown, Amanda E.
To:      MaJhew Herrington, Charles R. Bridgers
CC:      McKeeby, Paulo B.

Matthew:

Based on our notes, the mediation ended with Plaintiff’s demand of $20k + briefing on fees in response to Tyler’s
offer of $8k + briefing on fees. The mediator then sent a mediator’s proposal of $25k for a global resolution. After
the mediator’s proposal expired, Tyler sent Plaintiff an offer of judgment for $15k + briefing on fees, which Plaintiff
rejected.

We also want to note that the impact of the SJ ruling on the potential recovery period will be a factor in Tyler’s
settlement evaluation. As you know, Plaintiff was in the IA role for 2/3 of the limitation period (assuming a 3 year
SOL).

We look forward to receiving Plaintiff’s demand.

Thanks,

Amanda E. Brown
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+1 512 289 2351 (cell)
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 4851 LBJ Freeway, Suite 220
 Dallas, Texas 75244
 214.534.1990

 wpryor@willpryor.com
 www.willpryor.com

 January 10, 2022


 Mediator’s Settlement Proposal:
 Talia Harrison v. Tyler Technologies, Inc.


 Matthew Harrington               via email matthew.herrington@dcbflegal.com
 Delong Caldwell Bridgers

 Amanda Brown                     via email aebrown@reedsmith.com
 Reed Smith LLP



 Dear Counsel:

        Thank you for your patience, professionalism and good humor during our
 recent mediation. I regret that we were not successful in our efforts to resolve this
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 matter. I thought it would do no harm to offer this proposal.

        Please respond by 5:00 pm (CST), tomorrow, January 11, 2022. Please
 reply regardless of whether the response is positive or negative. If you need
 additional time to respond, please let me know.

   You are guaranteed confidentiality. I do not disclose either response unless
                       both of the responses are “yes”.

       Very best wishes.

                                       Sincerely,




                                       Will Pryor
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                            Mediator’s Settlement Proposal

       Plaintiff agrees to accept, and Defendant agrees to pay, the total sum of
 $25,000.00, in full and final settlement of all claims. Settlement proceeds to be
 paid on or before January 28, 2022.

        All parties agree to preserve the confidentiality of the terms of the
 settlement.

       Plaintiff will execute full, complete, and general release.

       All parties to bear their own attorney’s fees, costs and expenses.

       Pending litigation to be dismissed, with prejudice.

 Responses:

 _________ _________
 Yes       No
      ___________________________
      Matthew Herrington, Counsel for Plaintiff

 _________ _________
 Yes       No
      ___________________________
      Amanda Brown, Counsel for Defendant
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                    EXHIBIT 2
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                                         EXHIBIT 2

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  TALIA N. HARRISON,

                 Plaintiff,

         vs.                                          Civil Action No. 4:21-cv-607-ALM

  TYLER TECHNOLOGIES, INC.,

                 Defendant.


                       SECOND DECLARATION OF MATTHEW W. HERRINGTON

 Attorney Matthew W. Herrington hereby submits his declaration, pursuant to 28 U.S.C. § 1746,

 in support of Plaintiff Talia Harrison’s Motion for Award of Attorney’s Fees and Costs Pursuant

 to the Fair Labor Standards Act.

 1.     My name is Matthew W. Herrington. I am over the age of twenty-one (21) and suffer

        from no legal disabilities. I make the following Declaration based on my personal

        knowledge as well as the contemporaneous business records of my firm.

 2.     During the litigation of Plaintiff Talia Harrison’s overtime claim against Defendant Tyler

        Technologies, Inc., I was aware that Ms. Harrison had worked for Tyler in two distinct

        but related positions.

 3.     As Ms. Harrison has previously testified to, the work she performed in her second

        position as Implementation Analyst was the very same work she had been performing in

        her previous position as Project Manager. The primary—and possibly only—difference

        was that she no longer had supervisory duties for an Implementation Consultant, and she

        no longer needed to bill directly to client cases or regularly travel to client worksites. But




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        the day-to-day of the work she performed was no different than 50% of the work she had

        previously performed in her role as a Project Manager.

 4.     Because these positions were so similar and the duties overlapped in every relevant way,

        it was not necessary for me to conduct significant additional discovery or additional legal

        research as to the Implementation Analyst position. The work that Ms. Harrison

        performed in that position was completely subsumed within her duties as a Project

        Manager. Every aspect of her job duties as Implementation Analyst was also relevant to

        her duties as a Project Manager.

 5.     I spent no substantial additional time working on this case as a result of the fact that

        Plaintiff worked in two positions during the course of her employment, other than the

        small amount of time it took to brief a few additional paragraphs in Plaintiff’s response to

        Defendant’s Summary Judgment Motion.

 6.     No job duties related solely to Plaintiff’s position as Implementation Analyst and thus the

        overwhelming majority of the work on this case would have been performed identically

        whether or not she had worked in multiple positions.

 I declare under penalty of perjury that the foregoing is true and correct.

 Dated: April 20, 2023

                                                       s/ Matthew W. Herrington
                                                       Matthew W. Herrington
                                                       Georgia Bar No. 275411




                                                   2
